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                        Exhibit 1



               Confirmation Hearing Notice
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                                IN THE UNITED STATES BANKRUPTCY COURT
                                     FOR THE DISTRICT OF DELAWARE

    In re:                                              Chapter 11

    STANADYNE LLC, et al.,1                             Case No. 23-10207 (TMH)
                                                        (Jointly Administered)
                   Debtors.


                NOTICE OF APPROVAL OF SOLICITATION AND VOTING PROCEDURES

PLEASE TAKE NOTICE THAT on __________, 2023, the United States Bankruptcy Court for the District of
Delaware (the “Court”) entered an order (the “Solicitation Order”) granting the Motion of the Official Committee
of Unsecured Creditors (the “Committee”) (i) Approving on an Interim Basis the Adequacy of Disclosures in the
Combined Disclosure Statement and Plan of Liquidation (as may be modified, amended, or supplemented from
time to time, the “Plan”), (ii) Scheduling the Confirmation Hearing and Deadline for Filing Objections, (iii)
Establishing Procedures for Solicitation and Tabulation of Votes to Accept or Reject the Combined Disclosure
Statement and Plan of Liquidation, and Approving the Form of Ballot and Solicitation Package, and (iv)
Approving the Notice Provisions.

             PLEASE TAKE FURTHER NOTICE THAT the deadline to vote on the Plan is October
             26, 2023 at 4:00 p.m. (prevailing Eastern Time) and the deadline for filing objections
             to the Plan is on or before October 30, 2023 at 4:00 p.m. (prevailing Eastern Time)
             (the “Plan Objection Deadline”).

        Any objection to the Plan must: (a) be in writing; (b) conform to the Bankruptcy Rules, the Local Rules,
and any orders of the Court; (c) state with particularity the basis and nature of any objection to the Plan and, if
practicable, a proposed modification to the Plan that would resolve such objection; and (d) be filed with the Court
(contemporaneously with a proof of service) and served upon the following parties so as to be actually received
prior to the Plan Objection Deadline: (i) Kathryn A. Coleman, Esquire and Christopher Gartman, Esquire (email:
Katie.coleman@hugheshubbard.com and Chris.gartman@hugheshubbard.com) and (ii) Michael Nestor, Esquire,
Andrew Magaziner, Esquire, and Ashley Jacobs, Esquire (email: mnestor@ycst.com, amagaziner@ycst.com, and
Ajacobs@ycst.com), (b) counsel to the Committee: (i) Adam C. Rogoff, Esquire and Rose Bagley, Esquire (email:
arogoff@kramerlevin.com and rbagley@kramerlevin.com) and (ii) Jeffrey R. Waxman, Esquire and Eric J.
Monzo, Esquire (email: jwaxman@morrisjames.com and emonzo@morrisjames.com), (c) counsel to Cerberus:
Michael L. Tuchin and David A. Fidler (email: mtuchin@ktbslaw.com and dfidler@ktbslaw.com), and (d) Office
of the United States Trustee, Jane Leamy, Esquire (email: jane.m.leamy@usdoj.gov).

PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will consider final approval of the
disclosures in the Plan and confirmation of the Plan (the “Combined Hearing”) will commence on November 13,
2023 at 11:00 a.m. (prevailing Eastern Time), before the Honorable Thomas Horan in the United States
Bankruptcy Court for the District of Delaware.




1
 .      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification number are:
Stanadyne LLC (0378); Pure Power Technologies, Inc. (5202); Stanadyne PPT Holdings, Inc. (2594); and Stanadyne PPT Group
Holdings, Inc. (1734). The Debtors’ headquarters are located at 405 White Street, Jacksonville, North Carolina 28546.
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PLEASE BE ADVISED: THE COMBINED HEARING MAY BE CONTINUED OR ADJOURNED FROM
TIME TO TIME BY THE COURT OR THE COMMITTEE WITHOUT FURTHER NOTICE OTHER THAN
BY SUCH BEING ANNOUNCED IN OPEN COURT OR BY A NOTICE FILED WITH THE COURT AND
SERVED ON ALL PARTIES ENTITLED TO NOTICE.

                  CRITICAL INFORMATION REGARDING VOTING ON THE PLAN

Voting Record Date. The voting record date is September 25, 2023 at 4:00 p.m. (the “Voting Record Date”),
which is the date for determining which Holders of Claims in Classes 3, 4, and 5 are entitled to vote on the Plan.

Voting Deadline. The deadline for voting on the Plan is on October 26, 2023 at 4:00 p.m. (prevailing Eastern
Time) (the “Voting Deadline”). If you received a Solicitation Package, including a Ballot, and intend to vote on
the Plan you must: (a) follow the instructions carefully; (b) complete all of the required information on the ballot;
and (c) execute and return your completed Ballot according to and as set forth in detail in the voting instructions
so that it is actually received by the Voting Agent on or before the Voting Deadline. A failure to follow such
instructions may disqualify your vote.

CRITICAL INFORMATION REGARDING RELEASE, EXCULPATION, AND INJUNCTION PROVISIONS
IS IN ARTICLE IX OF THE PLAN. THE COMMITTEE STRONGLY RECOMMENDS THAT YOU
REVIEW ALL OF THE PROVISIONS OF ARTICLE IX OF THE PLAN, WHICH IS AVAILABLE AT
WWW.ECF.DEB.USCOURTS.GOV.

                                        ADDITIONAL INFORMATION

The materials in the Solicitation Package are intended to be self-explanatory. If you would like copies of any of
the documents filed in these chapter 11 cases, such can be obtained for a fee via PACER at:
http://www.deb.uscourts.gov or contact counsel for the Committee, Jeffrey R. Waxman, Esquire
(jwaxman@morrisjames.com).

The Committee may file the Plan Supplement (as defined in the Plan) on or before October 19, 2023 at 4:00
p.m. (prevailing Eastern Time), and will serve notice on all Holders of Claims or Interests entitled to vote on
the Plan, which will: (a) inform parties that the Committee filed the Plan Supplement; (b) list the information
contained in the Plan Supplement; and (c) explain how parties may obtain copies of the Plan Supplement.

BINDING NATURE OF THE PLAN: IF CONFIRMED, THE PLAN SHALL BIND ALL HOLDERS OF
CLAIMS AND INTERESTS TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
WHETHER OR NOT SUCH HOLDER WILL RECEIVE OR RETAIN ANY PROPERTY OR INTEREST IN
PROPERTY UNDER THE PLAN, HAS FILED A PROOF OF CLAIM IN THESE CHAPTER 11 CASES, OR
FAILED TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN.




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                            Amendments to the Plan and Related Documents.

       The Committee reserves the right to make non-substantive or immaterial changes to the Disclosure
Statement, Plan, Confirmation Hearing Notice, Solicitation Packages, and related documents without further
order of the Court, including changes to correct typographical and grammatical errors, if any.

Dated:
                                               MORRIS JAMES LLP

                                               /s/ Jeffrey R. Waxman
                                               Jeffrey R. Waxman (DE Bar No. 4159)
                                               Eric J. Monzo (DE Bar No. 5214)
                                               500 Delaware Avenue, Suite 1500
                                               Wilmington, DE 19801
                                               Email: jwaxman@morrisjames.com
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                                               -and-

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                                               Rose Hill Bagley, Esquire
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                                               Counsel to the Official      Committee    of
                                               Unsecured Creditors




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